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IN THE UNITED STATES DISTRICT COURT
POR THE NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

ALTSON VALENTEH, JENNIFER

BARLOW, KATHRYN MONROE,

SOPHIA SMITH, STEPHANIE

LEBEAU on behalf of CIVIL ACTION
themselves and all others FILE NO.
similarly situated, 1:15-CV-02477-ELR

Plaintiffs,
vs.
INTERNATIONAL FOLLIES, INC.,

d/b/a THE CHEETAH and WILLIAM
HAGOOD,

Defendants.

DEPOSITION OF
SAMANTHA LETGH KIM
Monday, October 30, 2017
1:39 p.m.
Suite 2700

260 Peachtree Street
Atlanta, Georgia

Renda K. Cornick, RPR, CCR-B-909 >

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Witness
SAMANTHA ULUFRIGH KIM

Examination by Mr. Dudley

Plaintiff's
Exhibit Description

Exhibit 1 “ #

(Original Exhibit 1 has been attached to the
original transcript.)

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4 Samantha Leigh Kim - October 30, 2017

 

 

(Reporter disclosure made pursuant to
Article 10.B of the Rules and Regulations of the
Board of Court Reporting of the Judicial Council
of Georgia.)

SAMANTHA LEIGH KIM,

having been first duly sworn, was examined and

testified as follows:

EXAMINATION
BY MR. DUDLEY:
Q. Samantha, how are you today, or this
afternoon?
A. Doing all right, sir. Yourself?
Q. I am doing good. I won't introduce

myself. We met before.
You have testified several times on behalf
of Cheetah, have you not?
A. I have. I think this is my third.
Q. Other than the hearings that were

conducted back in 2015, have you done any depositions

on behalf of Cheetah?

A. Yes.

QO. Which ones have you done? Let me rephrase
that. When did you do depositions?

A. I believe I had a limited scope FLSA

deposition in July of last year.

 

 

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Samantha Leigh Kim - October 30, 2017

 

 

Q. Okay.

A. And I represented the club as a 30 (b) (6)
witness in July of this year. I believe it was July.

Q. The one in July, was that in the Title VII
case?

A. No, sir.

Was it in a RICO case?

A. No, sir. It was unrelated to the Valente
case.

Qo. Tt was another FLSA case?

A. No, sir. It was not FLSA.

QO. Can you tell me what it was about?

A. It had to do with a customer leaving the

club and being in an accident.

Q. Personal injury case?

A. I believe so.

Q. Tell me how long you've worked for
Cheetah.

A. In different roles since 2000.

Q. Tell me all the roles you have had at

Cheetah since 2000 in chronological order if you can.
A. Makeup artist. Front door hostess.
Relief manager. Nightshift housemom. Daytime

Manager.

Q. When were you nightshift relief manager

 

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6 Samantha Leigh Kim - October 30, 2017
roughly?
A. I was a dayshift relief manager.
Q. Sorry.
A. It was, I believe, 2005.
Q. 2005 only or did it -- is that when you

started doing it?

A. I believe it was only in the year 2005.

It was maternity relief.

Q. And you have been the dayshift manager

Since 2005?
A. No, sir. Since 2011.
Q. That's what I was asking. What did you do

between 2005 and 2011?

A. Front door. Dayshift management relief.
Nightshift housemom relief.

Q. What are your duties as dayshift manager?

A. I check in the girls as they arrive and
create the daily rotation. I watch the floor. I
manage the bar staff and the wait staff as well as
ordering liquor and paper goods. I organize
maintenance, landscaping, cleaning crew. Chemical
goods. AC repair. Help to sell Cheetah Bucks.

Q. Anything else?

A. Train girls when they are new. Hire wait

staff, bar staff when necessary.

 

 

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Samantha Leigh Kim - October 30, 2017

 

 

I think that's it. I have my fingers ina

lot of pots.
oO. You do.
When you say order liquor, I understand
that. What do you mean by paper goods?
A. Bev naps, paper cups, straws, stirrers.
Q. Are you responsible for entertainers

checking in or does the dayshift housemom handle that?

A. IT am also the dayshift housemom working as
manager.

Q. Are you the only housemom on duty during
dayshift?

A. If I am there, generally, yes. I have a

relief manager that works on Saturdays.

Q. Would it be a true statement to say that

your primary duties during the day are the manager and

the housemom?

A. Yes. I fill both roles.
Q. So would you agree with the statement that
you check in the entertainers -- and again, I am

asking you about before April 9th, 2016, then I will
ask you some questions after that. Until you hear
otherwise I am asking about before April 9th, 2016.

A. Okay.

Q. During that period of time, you handled

 

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8 Samantha Leigh Kim - October 30, 2017

 

 

the check-in of entertainers, right?

A. Yes.

Q. And you handled the stage rotation.

A. Yes.

Q. And you do the checkout process.

A. Yes.

Q. Did you Breathalyze before April 9th,
2016?

A. For some years before April 9th, 2016, I
had a floorman that would Breathalyze. He came in at
4:00. For some years I did not. It is fair to say

that I have done the Breathalyzer as part of my

checkout duty and there was a time I had a floorman

who did it.

Q. Are you doing the Breathalyzer now?
A. Yes.
QO. Do you know why the housemoms are now

doing the Breathalzying as opposed to floormen? Is

there a reason for it?
A. IT as a housemom do the Breathalyzer as the
Floorman because I do not have a floorman.

Q. Do you know why they changed the person
responsible for doing Breathalyzers at nightshift?

A. tT do not.

QO. You handle scheduling for dayshift?

 

 

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Samantha Leigh Kim - October 30, 2017

 

 

A. Yes, sir.

QO. You are the person that would deal with
covers on behalf of entertainers during dayshift?

A. The entertainers themselves are
responsible for getting covers.

Q. But you would be responsible for keeping
track of who was using a cover and who was covering?

A. Yes.

QO. You would be notified of that and you
would keep track of it?

A. I would be notified when the cover
arrived, if she was there to work for whoever.

Q. Did you keep a written list of people who

were being covered and those who were covering?

A. It is on our daily, but that's it.

Q. Your daily what?

A. The daily schedule.

Q. Tell me what all is on the daily schedule.
A. The date. The name of the housemom who

was working. The color of the rotation that they
would start on for that day and the girls who are
scheduled. Then you would write in your own
handwriting girls who just came in to work extra.
Q. How would I tell on this form who was a

cover and who was being covered?

 

 

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10 Samantha Leigh Kim - October 30, 2017
A. I am sorry, on what form?
Q. The form you are talking about.
A. If they are scheduled, they are printed on

the form. If they are not scheduled, then it is in

handwriting.

Q. For what period of time do you have these
records?

A. The daily attendance I am not exactly
sure. Through the duration of time that I worked as a
housemom.

Q. Where are your records of that right now?

A. The dailies are kept at The Cheetah. They

are not my records.

QO. So Cheetah has those?
A. Yes, sir.
QO. They would have the three-year period

preceding April Sth, 2016?
A. To my knowledge.
MR. WARD: Off the record?
MR. DUDLEY: (Nods head. )

{Discussion off the record.)

Q. (By Mr. Dudley) So what does it -- have a
Stage name -- I don't understand the print versus the
handwritten. You are saying there is a printed

schedule per shift.

 

 

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Samantha Leigh Kim - October 30, 2017 11
A. Yes.
Q. Tt is prepared in advance of the shift.
A. Yes.
Q. This is the way it has always been done?
A, Yes.
Q. So there has always been a printed

schedule for entertainers?

A. A printed daily, yes.

Q. And on that list, I can tell who is
covering and who is being covered because there will
be a handwritten name next to the name of the person
they are covering; is that right?

A. That is the way I do it. I strike through
the name of the person who was scheduled and then in
my handwriting write the name of the girl who is

actually to work the shift.

It will also show the people who requested
off.

QO. I will submit to you that you have
testified in the past in these cases that you have
testified that entertainers were not subject to
schedules. You are now telling me that you have
printed schedules for every shift.

A. They are not fired if they don't work

their scheduled day. But upon getting hired they are

 

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12 ' Samantha Leigh Kim - October 30, 2017

 

 

asked to give three days a week to be scheduled.

QO. Are there any other documents that would

show me when somebody is covering or who is

covering --
A. I don't believe so.
QO. ~- that Cheetah has.

And again, talking about the period prior
to April 9th, 2016, you agree with the statement that
Cheetah had a policy requiring their entertainers to
get a cover if they had an unexcused absence, right?

A. They are not required to get a cover.
They requested they get their shift covered for, like,
an unexcused reason.

QO. So your testimony today is that's not
Cheetah's policy?

A. That is Cheetah's policy that we request

them to have a cover, yes.

(Plaintiff's Exhibit 1 was marked for

identification.)

Q. {By Mr. Dudley) Do you recognize this
document ?

A. Yes.

Q. Can you tell me what it is?

A. The Nightshift Entertainer Orientation and
Guidelines.

 

 

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Samantha Leigh Kim - October 30, 2017 13

 

 

Q. Go to Page 2. Go down to the fourth
bullet point under scheduling and attendance, the one
that starts if you cannot.

Yeah. That's the right bullet point.

TE you could, go to the second paragraph

of that bullet point and read that to me, please.

A. If you have a valid reason for not making
your shift, you must provide documentation to your
housemom upon returning to work. If not, you must get
your shift covered by another entertainer who is not
scheduled for that shift.

Q. Does that change your testimony?

A. No. I understand that it says "must," but

I have never, I mean --

QO. "Must" is in bold and underlined, is it

not?

A. Correct. It is a guideline. We would

rather them work their shift.

QO. You think "must" is a guideline?
A. I think this document is a guideline.
QO. This is the document that for nightshift

dancers is given to them by the housemom and they are

told to adhere to it, are they not?

A. Yes, sir.

QO. I am going to show you this document.

 

 

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14 Samantha Leigh Kim - October 30, 2017

 

 

Do you recognize that document?

A. Yes, sir.

Q. Is that Cheetah's policies and procedures

post April 9th, 2016?

A. I believe so. Yes.

QO. Please Look at it and let me know.

A. It says revised April 2016. That's a yes.
Q. That's a document you give to new

entertainers post April 9th, 2016, right?
A. Yes.
Q. Could you read the part about attendance
on this document, please.
MR. WARD: Do I have a copy of that?
MR. DUDLEY: I don't have one.
MR. WARD: Where are we going, this
paragraph?
MR. DUDLEY: Attendance.
MR. WARD: Which paragraph is that on?
MR. DUDLEY: First page.
MR. WARD: Am I missing something?
MR. DUDLEY: bet me see it.
This is why I am not entering it as an
exhibit. I only have one copy.
First page, failure to report to work.

QO. (By Mr. Dudley) Could you please read

 

 

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Samantha Leigh Kim - October 30, 2017 15
that to me.
Q. All employees are required to report for
work according to their assigned schedules. If for

any reason an employee cannot report to work, the
employee must notify manager or housemom and make
arrangements for a substitute to cover her shift.
Is that a correct reading of Cheetah's
policy regarding covers post April 9th, 2016?
A. Yes.
QO. Thank you.
What is the purpose of Cheetah's cover
policy?
MR. WARD: Object to the form.
THE WITNESS: The Cheetah would like to
have entertainers working.
Q. (By Mr. Dudley) And they ensure that
happens by having a cover policy, do they not?
A. It is an option for the entertainer to
take a night off.
QO. Ensures if an entertainer takes a night
off that somebody is working for them, right?
A. In theory, yes.
Q. It is important enough that Cheetah
continues to use it even after entertainers are

designated employees, correct?

 

 

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16 Samantha Leigh Kim - October 30, 2017
A. Yes.
QO. You would agree that entertainers make

good money at Cheetah?

A. Most entertainers, yes.

Q. And you would agree that many entertainers
make in excess of a thousand dollars a shift?

A. It is rare on my shift.

QO. Rare on dayshift. Tell me if I am wrong,
I remember in your testimony before you went to great
lengths to talk about how much money entertainers made
in tips. Do you recall that?

MR. WARD: Object to the form,
THE WITNESS: They make great money in
tips.

Q. (By Mr. Dudiey) Do you think it is
unusual for a girl to make over a thousand dollars a
night in tips?

A, Unusual, no.

Q. Tt is quite common for an entertainer to
make $500 a night, correct?
A. On nightshift, probably, yes.

What about dayshift?

A. It can happen.
QO. Quite common?
A. Sure.

 

 

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Samantha Leigh Kim - October 30, 2017 17

 

 

Q. I understand ail do not do it. But there
are a good number of entertainers who are making $500
a shift, right?

A. With so many girls I can't give you a
percentage on that. Am I surprised to hear they have
a $500 day, no.

Q. And you acknowledge that some entertainers

may make a thousand dollars a shift for VIP dancing,

correct?
A. Yes,
Q. And you would agree with the statement

that the entertainers made $300 an hour doing VIP
dancing and it is not uncommon for entertainers to do
at least one VIP per shift, correct?

A. For girls that are regularly in VIP, yes.

Q. In dayshift entertainers are charged a

$10-per-check-in fee?

A, Prior to April 9th, 2016?

QO. Yes.

A. Yes. It was $10 per hour.

QO. Or 30 minutes, right?

A. Correct.

Q. What happened to those VIP check-in fees

at the end of the shift?

A. On dayshift?

 

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18 Samantha Leigh Kim - October 30, 2017
QO. Dayshift.
"A. They went to the housemom and the DJ.
Q. So on dayshift you are telling me that VIP

check-in fees went to the housemom and the DJ rather

than to Cheetah?

A. Yes.

Q. Are any records kept of those?

A, No.

Q. Is there a particular reason why there are

no records?
A. Not to my knowledge.
Q. Can you explain to me why Cheetah would

keep records of that in the nightshift but not the
dayshift?

A. Because at nightshift it gets turned into
the club and dayshift it does not.

Q. The reason why records aren't kept is
because the housemom and the DJs get to keep the
check-in fees, correct?

A. Tt was part of the girls' checkout, yes,
including their tipout.

Q. Are those fees accounted for in any way by
Cheetah or you?

A. They don't go to Cheetah. They are

accounted for as my tips. But they are not --

 

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Samantha Leigh Kim - October 30, 2017 13
Q. Do you declare them as tips with Cheetah?
A. I am sorry?
QO. Do you declare the check-in fees as tips

with Cheetah?
MR. WARD: I think she is confused.
THE WITNESS: I am.
MR. WARD: I know she is confused. Can I
help? I can tell you what the problem is.
MR. DUDLEY: I will try to figure it out.
Q. (By Mr. Dudley) Let me ask you this, the

check-in fees, are they included as income on your tax

returns?
A. Yes.
Q. How are they included? Are they included

as tip income or is it because it is on a W-2 that

Cheetah gives you, or 1099?

A. It is not on a W-2. No. I report them as

previously unclaimed tips.

Q. Do you report the VIP check-in fees as a
tip?

A. It was a tip to me so yes.

Q. I am not asking you that. Do you report

it as a tip?
A. On my taxes?

QO. Yes.

 

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20 Samantha Leigh Kim - October 30, 2017
A. Yes.
QO. You consider the mandatory fee paid by an

entertainer to be a tip to you?
A. At that time, yes.

Q. How did a DJ and housemom divide up the
VIP check-in fees?
MR. WARD: Object to form.

THE WITNESS: In half.

Q. (By Mr. Dudley) DJ got half, you got
half.

A. Correct.

Q. This time you're a house manager, right?

A. Housemom, yes.

Q. You were a daytime manager during this

period of time?
MR. WARD: Object to form.

THE WITNESS: I was daytime manager and

housemom.

Q. (By Mr. Dudley) Dayshift entertainers are

assessed a $25 late fee for being late for their

shift.
MR. WARD: Object to the form.
THE WITNESS: No.
Q. (By Mr. Dudley) Are they not fined for

being late for shifts?

 

 

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Samantha Leigh Kim - October 30, 2017 21

 

 

A. The daytime fee was not $25. And they

were very rarely fined.

Q. How much was it?
A. 15.
Q. So it is your contention that there was a

$15 fine if someone is late to work, correct?
MR. WARD: Object to the form. Misstates
her testimony.

Q. (By Mr. Dudley) Tell me how your
testimony is different than that.

MR. DUDLEY: The answer or the question?

MR. WARD: The answer because you restated
the testimony.

MR. DUDLEY: I will withdraw it rather
than go through that process.

Q. (By Mr. Dudley) I am simply asking you
how much the fee was which I believe you testified was
$15, right?

A. Yes.

Q. Is that a flat $15 regardless of what time

they come in?

MR. WARD: I am going to object to the

form again.

THE WITNESS: I believe so. Tt has been

so long since I collected a late fee. I believe

 

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22 Samantha Leigh Kim - October 30, 2017

 

 

on daytime it was only $15.

Q. (By Mr. Dudley) It did not escalate?

A. No.

Q. Where did this money go?

A, To the first girl that was in the door.

Q. Tell me how that worked.

A. The first girl that checked in on the rare

occasions that we collected a late fee from someone
who arrived late to a scheduled shift, that late fee
was given to the first entertainer to arrive as
incentive for being on time.

QO. Let me see if I understand this. You
charged $15. You personally collected it from the

entertainer at the end of the shift, right?

A. At the end of the shift or when she walked
in. Either way.
Q. And then you turned around and gave that

$15 to who you claim was the first person that arrived
for shift, which I should be able to tell from the
sign-in sheets, right?

A. Well, at that time there wasn't a sign-in

timesheet but yes.

Q. What happened to the second $15 that was

fined against someone?

A. It would go to the second girl.

 

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Q. You are telling me that went on and on.
You would fine and give that money back to another

girl, take a fine, give it back to the next one,

that's the way it went?

A. Yeah.
Q. There were no records of this?
A, (Witness shakes head.)

MR. WARD: I need a break.
(Recess from 2:10 p.m. to 2:12 p.m.)
QO. (By Mr. Dudley) We are back on the

record.

I want to sum up your testimony about late
fees, make sure I understand. Late fees go to you.
You purportedly give it back to the entertainers,
right?

A. I collect it and give it to the first one
who arrived, yes.

QO. Keep no records of it?

A. IT don't believe so. There may be a couple
of designations on the dailies that say LT, but I am
not a hundred percent sure.

Q. I can determine who was paid late fees by
going, looking at people in the order they are checked
in?

MR. WARD: Object to the form.

 

 

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THE WITNESS: Yes.

Q. (By Mr. Dudley) What's the policy of the
late fee you charged for dayshift? Why did you do

that?

A. To try to get girls to arrive on time for

their shift.

Q. The beneficiary of that was you

personally, correct?

A. I am not sure I understand.

QO. Well, you collected the money, right?

A. Yes.

QO. Do you contend that anybody benefited from

that other than you?

A. I didn't benefit from late fees.

Q. Did the club benefit from it?

A. No.

Q. I thought you just told me that that
encouraged people to come in earlier. Didn't you

testify to that?

A. Nonmonetarily, yes. The club would

benefit from having girls there on time.

Q. There is no way for me to prove the amount
of the late fee because Cheetah has no records of it,

right?

A. To my knowledge, I don't believe so, no.

 

 

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Q. When it was assessed, it was mandatory,
right?
A. I mean, do we say that you have to be on
time for your scheduled shifts, yes. Was every person

who ever arrived late charged a late fee, no.

Q. Were entertainers fined for missing stage
sets?

A. On the rarest occasion.

Q. How much was the fine?

A. I believe it was $20. Again, it has been

so long since I collected it, I am not a hundred

percent.
QO. Was it not $25 per the written policy?
A. I know it is $25 on the nightshift.
Q. You can't remember what it was for
dayshift?
A. I believe it was 20. But again, it is a

fee I have rarely enacted.
Q. What happened to those fees?

A. Missed set fees would have been turned in

to the house if collected.

Q. Tell me how that worked. How would you
keep track of it? Who did it go to?

A. At the end of your shift you would put it

on a checkout form with the denomination of bills that

 

 

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were used to pay and how much the total was, the day
it was collected. It would be turned into Cheetah

Bucks.

Q. Do you have records of those amounts that

were collected as missed stage fees?

A. i do not.
Q. Have you given any records to Cheetah?
A. I don't have any records. I don't have

anything to give them.
Q. The record you created was given to the

Cheetah Buck girl and after that you have no records

of it?
A. Correct.
MR. WARD: Object to the form.
Q. (By Mr. Dudley) Now, what was the purpose

of a missed stage fee?

A. To try to get girls to do their stage set.
Q. Who benefited from the payment of the fee?
A. I don't know.

QO. Whoever received it which in your

testimony I believe was the club; is that right?

A. Correct.

Q. They would be a beneficiary, would they
not ?

A. Then yes.

 

 

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Q. They would be a monetary beneficiary and
they would also be a beneficiary of encouraging
dancers to make their stage sets, right?

A, Correct.

Q. What was the customary tipout to housemoms

for dayshift?

A. Before 2016, it was $10.

Q. So that worked just like nightshift?

A. The $10 housemom was the same, yes.

QO. That was something that you kept, right?

A. Yes.

Q. And that was a mandatory minimum of 10,
correct?

A. It was a suggested minimum of 10.

QO. And what was the floorman fee for
dayshift?

MR. WARD: Object to the form.
Q. (By Mr. Dudley) Pre April 9, 2016.

MR. WARD: Object to the form.
THE WITNESS: When I had a floorman, it

was a suggested $5.

Q. (By Mr. Dudley} What period of time did

you not have a floorman?

A. It has been a couple of years since I had

one. I couldn't tell you exactly when.

 

 

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Q. When you did not have a floorman, did you

take $5 as a floorman fee?

A. No,

Q. Is there no security during the day?
A. I also play that role.

Q. Busy woman.

A. I am.

Q. Obviously you are a beneficiary of any

rule that would require an entertainer to tip a
housemom, right?

A. Yes. I am the housemom as well.

Q. How much was an entertainer expected to
tip a DJ during dayshift prior to April 9th, 2016?

A. I believe it was also $10.

QO. You have personally reprimanded
entertainers for not tipping enough, have you not?

A. I don't believe so.

Q. Can you think of any circumstance why it
would justify you telling an entertainer she hadn't
tipped enough?

A. When I was working as a nightshift
housemom, if I knew someone spent three hours in VIP
and they wanted to give $5 to their DJ, that's a sign
that I would ask them. But again, they were suggested

tipouts. It wasn't mandatory.

 

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oO. With respect to entertainers during
dayshift, do you have the power to hire entertainers?

A. In conjunction with Jack Braglia, yeah.

QO. Your recommendation makes a strong
influence on him.

MR. WARD: Object to the form.

THE WITNESS: I don't know how to answer
that.

Q. (By Mr. Dudley) You know Jack well. You
have hired dancers with him probably hundreds of
times. You know how to answer that, don't you?

MR. WARD: Object to form.

THE WITNESS: I don't know how much weight
my opinion comes to him that -- when it comes to
that. He has turned down lots of girls I would
have hired.

Q. (By Mr. Dudley) You give your opinion.
Sometimes he takes it, sometimes he doesn't, correct?

A. Correct.

Q. As dayshift manager or housemom, you have

the authority to reprimand, discipline dancers, right?

A. Yes.

Q. Does that authority extend to termination?

A. In a case of, like, in a very
black-and-white case, yes. In general, I always

 

 

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consult Jack.

Q. You have the authority to do it ina clear
case but normally you run it by Jack. Is it safe to
say that's the way it is done?

A. Correct.

QO. You have the authority to send dancers

home, correct?

A. Yes.

OQ. You have done that, correct?

A. Yes.

Q. You have done that for a multitude of

reasons, correct?

A. Correct.

Q. You did that when they didn't meet
Cheetah's appearance requirements, correct?

A. T have never hired anyone I had to send
home for not fitting our appearance, no.

MR. DUDLEY: I didn't ask you that.
(The record was read by the reporter.)

Q. (By Mr. Dudley) I am not asking whether
you hired somebody. You made some reference to hiring
in your answer. I am not asking if you hired someone
based on their appearance or lack of appearance.

I am asking you whether you sent somebody

home because they didn't satisfy Cheetah's appearance

 

 

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requirements.
MR. WARD: Object to the form.
THE WITNESS: The closest thing I can get
to that is sending someone to the boutique to buy
breakaways. But I have never sent anyone home.

Q. (By Mr. Dudley) You never sent anyone

home for the color of their hair?
A. I don't believe so, no.

Q. Never sent anybody home because you didn't
think the outfit was appropriate?

A. Absolutely not.

Q. Never sent anybody home because you didn't

feel appearancewise they weren't meeting Cheetah

standards?
A. No.
QO. You have witnessed entertainers getting

ready for work.
A. Yes.
QO. And you understand that entertainers put

on makeup, do their hair, nails, shave, do all these

things to dance. Do you understand that?

A. Yes.

QO You have watched them do that, correct?
A. Uh-huh.

Q Some of them take a long time to do it.

 

 

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A. Was that a question?
Q. Yes.
A. Yes.
Q. Some of them take several hours to do it.
A. Yes.
Q. Do you agree that it is not unreasonable

for an entertainer to take an hour to get ready for

work?
A. I don't think it is unusual for any woman
to take an hour to get ready for work.

QO. Do you think it is an unreasonable amount

of time to get ready for work at The Cheetah, to take

an hour?

A. No.

Q. The dayshift ends at 8:00.

A. Yes.

Q. That's the same time the nightshift
begins

A. Yes.

QO. Prior to April 9th, 2016, dayshift

entertainers had to go through a checkout process

after 8:00, correct?
A. Whenever their shift ends, yes.

Q. They are there at 8:00, they got to go

through a checkout process, right?

 

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A. Correct.
oO. Tell me what that involves.
A. They come off the floor and head to the
break room. This is prior to 2016. They come to the

break room. They would tip their DJ, tip their
housemom, pay any fees. Then they go to the
Breathalyzer, tip their floorman, Breathalyze, get
their slip and head out for the day.
Now without the floorman, they tip the DJ,
tip me, I Breathalyze them, they go home.
Q. If they haven't cashed in Cheetah Bucks

they have to do that at the end of the shift, too,

right?

A. Correct.

Q. How do entertainers leave during a
shift -- I am talking about when they are driving
their own vehicles -- how do they leave that is any

different from somebody leaving after the nightshift?
Does that make sense to you?

A. Iam not sure I understand the question.
They get their ticket. They get their car if they
drove or wait on their ride and exit the property.

Q. Why at night is it Cheetah's policy to
have the lot cleared before they are allowed to leave

but it is okay for them to leave in the dayshift

 

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without the lot being cleared?
A. I don't know.

Q. Can you think of any reason why things

would be different?

MR. WARD: Object to the form.
THE WITNESS: We don't ask all of our

customers to leave when one shift leaves.

Q. (By Mr. Dudley) Is there more security
around --

A. Security is coming on.

QO. -- at 8:00 o'clock than there would be at

3:30 or 3:00 otclock or is it the same?

A. I believe it is the same amount of
fFloormen. There are probably more valets during shift
change.

Q. How long does it take to go through the

checkout process on a normal day?
A. Just a few minutes.
QO. What if there are lines?

MR. WARD: What if what?

QO, (By Mr. Dudley) What if there are lines?
A. Everybody is hustling. We have two
Breathalyzers. The line is not going to take long

when I have 12 girls working.

Q. You have one person checking out how many

 

 

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girls on your normal dayshift?

A. Twelve to 18.

Q. A lot of times it is more than that, isn't
it?

MR. WARD: Object to form.
THE WITNESS: Not lately.

Q. (By Mr. Dudley) One person doing a
Breathalyzer, collecting all the fees and fines,
collecting money for the DJ, collecting money for the
housemom, collecting money for the floorman, the
dancer going through the -- cashing out the Cheetah
Bucks, all these kind of things you do in a couple of
minutes?

A. At the time you are talking about, there
were three people collecting the fees. There was the
DJ collecting for himself, the floorman collecting his
and Breathalyzing them and me collecting fines.

Q. It wouldn't take a couple of minutes to
Breathalyze one person?

A. No. It takes about 30 seconds to
Breathalyze one person, maybe 45.

Q. The prior witness testified that you were
given a sheet indicating who had cover and who was
covering them for nightshift. Is that true?

MR. WARD: Object to the form.

 

 

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THE WITNESS: That the nightshift
housemoms turn in weekly attendance to me, yes,
they do.

Q. (By Mr. Dudley) On that document -- I am
referring to the document she has talked about that I
will represent to you I have never seen because it has
never been given to me. But it is my understanding

that her testimony said that will show who had a cover

and who covered, right?

A. Yes.

Q. What happens to that document after it is

given to you?

A. Filed in a binder.

Q. Where is that binder?

A. In the office.

Q. The office at Cheetah?

A. Yes.

QO. This is something kept on a nightly basis?
A. Yes. It is a daily sheet. They turn it

in weekly.

QO. Cheetah has always maintained those
records to your knowledge?

A. To my knowledge, yes.

QO. You would agree with the statement that

the best way to determine a dancer's schedule before

 

 

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April 9th, 2016, is to lock at their entertainer info
sheet?

A. For the first schedule that she set, sure.

Q. Schedule change would be another info
Sheet, wouldn't there?

A. It would change on the housemom's dailies.

QO. So the daily documents, again, would show
me what people's schedules were.

A. It will show you who was scheduled that
day, yes.

Qo. Wouldn't show what their schedule is,
though, would it, or it would?

A. Tt is just one day. It would show who is
scheduled for that day.

Q. Do you know any of the entertainers I
represent?

A. Have I met them before or could I name
them?

Q. IT am sure you have met them. Do you know
who some of them are for dayshift?

A. I don't know specifically who is
represented by who. But I have a good grasp on who is
involved.

QO. Can you tell me who you think is involved?

It is not a lot of dayshift people, I don't think, is

 

 

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it?

A. No. There are several that have worked
day and night. I am not really sure who is

represented by what attorney.

Q. Doesn't matter. Just tell me the ones you
remember.

A. Amica Jolly. Heather Legget. Jacqueline
Hutsell. Miriam Adams. Summer Angie. No. Sara

Angie. Stephanie Waggoner. Katherine Kahn. Those
are the ones that are coming to me right now.
QO. With respect to Hutsell, Adams, Angie, and

Waggoner, do you remember what they typically earned a

night or a day?

A. I am sorry, I don't.

QO. Do you have any recollection of --

A. Sara Angie was a pretty successful
entertainer.

QO. I want to talk to you a little bit about

after April 9th, 2016.

How did entertainers on dayshift, how did
their compensation change?
A. Other than now getting two thirteen from
the club an hour, it did not change.
Q. It is your understanding the club paid

them two thirteen an hour then the club utilized the

 

 

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tip credit for the remaining five twelve an hour
Minimum wage; is that your understanding?

A. Iam not familiar with the tip credit.
But we do ask the girls to claim their tip credit to
make sure they satisfy their minimum wage.

Q. Is that what you tell them?

A. I tell them they need to claim their tips
at the end of the shift.

Q. How much do you tell them to claim?

A. What they made. I don't really tell them
to claim anything.

QO. You don't tell them to claim $80 or claim
enough to cover the minimum wage obligation?

A. $80 is an example that I give as, you
know, 1f you are an average entertainer, you work
three shifts, you are claiming $80, that's only
$12,000 at the end of the year. That's not realistic
for most of our giris.

Q. But it is enough to cover the minimum wage
obligation tipwise on the shift, right?

A. I believe so, yes.

Q. Entertainers' tipouts changed post April

Sth, 2016, right?
A. Correct.

Q. . And tell me how the tipouts changed from

 

 

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the way it was before that date.
A. There is now just a 10 percent

contribution to a tip pool that on dayshift goes to

the DJ.
Q. What are housemoms tipped? Nothing?
A. Housemoms do not even have a suggested tip
now.
Q. They now have a bucket?
A. Right.
MR. WARD: Excuse me. I can't hear you.
Q. (By Mr. Dudley) They now have a bucket?
A. I believe so. Yes. I use a bucket.
OQ. Before there was not a bucket, was there?
A.

On nightshift I think there has always
been a bucket. On dayshift before, no.

Q. The 10 percent is based upon the
entertainer's income or tips for the shift, right?

A, Yes,

Q. The figure that is used to calculate 10
percent may not be the same amount as declared by the
entertainer, correct?

A. I am sorry. Repeat it, please.

Q. The tip pool is based upon 10 percent of

an entertainer's tips for the shift, correct?

A. Correct. It should be 10 percent of what

 

 

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they earned that day.

Q. That may not be the same figure when an

entertainer declares tips for that same shift,

correct?
MR. WARD: Object to form.
THE WITNESS: I don't know what they
declared.
Q. (By Mr. Dudley) If they declared 80, for

example, and paid 10 percent of a thousand, you are
certainly going to know. If their 10 percent is a
hundred dollars for the night, you are certainly going
to know that the $80 figure is not the actual tips,
right?

A. Yes. One would know that. But I don't
watch them key in their tips.

Q. I guess what I am saying to you is the 10
percent is not based upon the amount they declare as
tips. It is based upon the amount they earned as
tips, right?

A. IT don't know what they declare as tips.
It is based on what they tell us they earned.

Q. Cheetah's policy is it is 10 percent of
the amount they earned is tips if they tipout,
correct?

A. Correct.

 

 

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Q. And you leave it up to the entertainer to

allocate whatever she wants in tips as long as it
meets the minimum wage obligation, correct?

MR. WARD: Object to form.

THE WITNESS: We rely on the entertainers

to report their tips.

Q. (By Mr. Dudley) You could keep track of
both of those figures to make sure that they are the

same, could you not?

A. I don't see what they put into the
computer.
Q. But you could keep track of the -- since

you are basing it on a percentage of what they make,
you could have accurate amounts, correct?

A. I don't receive that 10 percent. So you
keep saying I. I am not a part of that 10 percent.

QO. But Cheetah could.

A. Cheetah is not a part of that 10 percent,

either. It goes to the DJ.

Q. Well, somebody is taking the 10 percent

that works for Cheetah, right?

A. Yes.

QO. So it is a Cheetah tip pool arrangement,
right?

A, Yes.

 

 

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Q. I think we already established that the

cover policy continued after April 9th, 2016, right?

A. Yes. Girls continued to take nights off.

QO. You have been involved in covering,
correct?

A. Have I? Has someone dropped off money to

me to give to someone else, yes.
QO. Not only that, on each shift you know who
is getting a cover and who is covering, right?
MR. WARD: Object to the form.

THE WITNESS: You do your best. You don't

always know. You do your best.

Q. (By Mr. Dudley) Do you keep records of
it?

A. We keep records of who worked, yes.

Q. You keep records of who covered and who

was covered, right?

A. Who either requested off or who was

covered, yes. When you say -- there is not a separate

list. It is on the daily.

Q. But it shows those two things.
A. Yes.
Q. Entertainers pre and post April 9th, 2016,

are expected to pay for their permits out of the tips

they earn working for Cheetah, correct?

 

 

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A. They are expected to pay for their
permits. They have to have one before they start. LI

don't know if I would say they are expected to pay it
from their tips. They are expected to buy their
permits.

Q. Are you aware of any entertainer who did
not -- that I represent who did not buy a permit the

week she started working for Cheetah?

A, T am not aware of anyone who has ever

worked for the Cheetah without a permit.
QO. You can just answer my question yes or no.

You can explain if you want.

A. I don't think anyone has worked without a
permit. The club has loaned money to entertainers
SO --

MR. WARD: He wants to know if you know if
any o£ his clients got a permit within a week
after being hired.

Q. (By Mr. Dudley) The workweek they were
hired. That's all I am asking.
A. Sure.
QO. You know that to be the case?
MR. WARD: I think now we got it cleared

up, ask the question again.

QO. (By Mr. Dudley) I am only asking you

 

 

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about the people I represent.

A. Okay.

Q. You know some of them. The ones you are
aware of, can you tell me whether any of them didn't
get a permit during the workweek they started working?

A. If they were working they had a permit.

Q. You don't know when they bought it, the
permit, the week they started working, do you?

A. Off the top of my head, no.

Q. If somebody renewed a permit while they
were working at Cheetah, obviously they would purchase
that permit during a workweek they were working for
Cheetah, more than likely?

A. Yes.

Q. And that would be paid out of their tips
as far as you know.

A. Yes.

oO. And who else has to have a permit to work
at Cheetah? Waitresses do?

A. Yes.

QO. Bartenders do?
A. Yes.

Q. Entertainers do?
A. Yes.

Q. Do you?

 

 

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A. Yes.
QO. So management does, too?
A. Yes.
OQ. Housemoms, too?
A. Yes. Kitchen, bathroom employees.
QO. Does Jack?
A. Yes.
Q. What about a cook in the kitchen?
A. Yes.

My bathroom attendants.

QO. Is there anybody at Cheetah that you are
aware of that doesn't have to buy a permit?
A. No.

MR. WARD: Which is why y'all's letters
always go to Jack.

MR. DUDLEY: I don't even know what you
are talking about. I think you are talking about
somebody else. We won't get into that.
Q. (By Mr. Dudley) As far as you know,

that's the way the statute reads. Everybody that
works with the Cheetah has to get a permit.

MR. WARD: Object to the form.

Q. (By Mr. Dudley) Just your understanding

of it.

MR. WARD: That's fine. You can give your

 

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understanding.
THE WITNESS: Yes.

Q. (By Mr. Dudley) Does Cheetah pay for

anyone's permits?

A. I think we pay for our kitchen guys'
permits.

QO. Do you know why that is?

A. I do not.

MR. WARD: She can ask questions if you

want her to. I don't care.

MR. DUDLEY: No.

I think that is going to be it. Give me
about five minutes. I will let you know.

MR. WARD: Let me cover this on the
record. It seems to be an issue. As soon as I
get confidentiality orders signed by everybody,
we will be releasing these documents that you
keep saying you haven't been getting.

MR. DUDLEY: I would love you to put on
the record exactly what I am going to get. I
would love for you to do that. That may have
something to do with whether we can speed up the
protective order issue. Some of them we have
already signed orders that ought to cover this.

MR. WARD: Just one. And everybody --

 

 

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MR. DUDLEY: We got more than one.

MR. WARD: Well, which ones?

MR. DUDLEY: I think the collective there

is a protective order, isn't there?

MR. WARD: No. I sent you the Title VII

one.

MR. DUDLEY: I know there is in the Gepp
case. I know that in Chris Berney's cases they
were entered early. I mean, it would help me.

I have two issues with the protective
order. One is that it covers documents that have
already been produced. Some discovery periods
are over with. I think it is frankly just not

appropriate to go back and make everything you
have given to me or anyone else subject to a
confidentiality order.

Second, I have a real concern about doing
a confidentiality order that is going to forbid
me from going over certain documents with my
clients. It prevents me from preparing for my
case. If I knew what the documents were, I could
tell you whether I would approve of them being
attorneys' eyes only. Otherwise I don't want to
get in a fight every time I want to show a

document to my client. It intrudes into the

 

 

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attorney-client relationship. I just hope you
understand the position on that.

MR. WARD: I am just saying as soon as you
sign it, you can have it. You can have all the
positions in the worid.

MR. DUDLEY: What you have given me hasn't
addressed my concerns, okay?

MR. WARD: That one was reviewed by
Mr. Gepp over your objections, entered as we
prepared it. I am saying we will do the same one
in every case right now, this second.

How many documents have been marked
attorneys' eyes only? Some financial documents?
Has any document --

MR. DUDLEY: The ones you are giving to me
are attorneys only. The Gepp one is attorneys'
eyes only.

MR. WARD: No. It has two designations.
We have to designate it for it to be attorneys’
eyes only. I would like you to show me what
documents we have designated as attorneys' eyes
only. Look at the order. I think you are
misunderstanding me.

MR. DUDLEY: Are you telling me the

documents I am about to get are not attorneys'

 

 

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eyes only?

MR. WARD: I don't know the answer.

MR. DUDLEY: Why are we even having this
argument if they aren't?

MR. WARD: About what?

MR. DUDLEY: About attorneys' eyes only.

MR. WARD: About a category of attorneys!
eyes only?

QO. (By Mr. Dudley) If they don't exist, why
are we --

MR. WARD: There will be some documents
that will have attorneys' eyes only. They are
most likely to be financial documents of the club
which we don't want to send to all the employees.
You represent the employees. But we feel like it
would be helpful for both sides for you to see
those.

I don't want my employees seeing tax
returns for my -- that's the sort of document
that I contemplate being attorneys' eyes only.
Schedules and stufi like that, I don't care about
that stuff being attorneys' eyes only. I really
don't.

And, for example, we do not want you

sharing disciplinary records of one girl with

 

 

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another girl. That would be unfair to the girl

that got disciplined, right?

MR, DUDLEY: I dontt know about that.

don't know whether I would agree with you there.

Unfortunately, these girls may have a right to

know that.

Now, I will do everything I can do to

protect the girl who was disciplined. I don't

think we can say -- they may have knowledge about

it. They may be able to confirm that it

happened.

MR. WARD: I would suggest to you you get

into circumstances among other things which might

be a conflict. But you can find -- it is
incumbent on you to decide if you are going to

tell a girl another girl got disciplined.

We would say this is confidential, don't

share it with people -- in other words, people

that are not your clients that got disciplined,

it is none of your client's business who got
disciplined.

It may be their business if other girls
unnamed, unidentified were disciplined but I-

really think that has to go in front of the

judge. These girls, they will take things out on

 

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each other.

You know exactly what I am talking about
here. They will start catting on each other and
being mean to each other and talking about each
other in the workplace.

It will create a terrible environment for

them if you teil your clients about all the

disciplinary actions of other girls. That's my
concern. It is for them.
MR. DUDLEY: Weil, I will certainly -- not

knowing what you are going to give me and the
circumstance of it being produced, you have to
understand my position on all of this.

MR. WARD: I don't. I think what you are
doing --

MR. DUDLEY: You ought to because I think
any lawyer would appreciate the fact that giving
something four years later is probably not a
timely response to production.

MR. WARD: In your position, I would get
the documents. If I felt like the other side
improperly designated them, I would be right in
front of the judge.

MR. DUDLEY: That may happen.

MR. WARD: That's fine.

 

 

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MR. DUDLEY: Let's finish this deposition,
then I will be happy to talk to you about it.

(Recess from 2:51 p.m. to 3:03 p.m.)

(Deposition concluded at 3:03 p.m.)

(Pursuant to Rule 30{e) of the Federal
Rules of Civil Procedure and/or 0.C.G.A.

9-11-30(e), signature of the witness has been

reserved.)

 

 

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CERTIFICATE

STATE OF GEORGIA:

COUNTY OF FULTON:

I hereby certify that the foregoing
transcript was taken down, as stated in the
caption, and the questions and answers thereto
were reduced to typewriting under my direction;
that the foregoing pages 1 through 53 represent a
true, complete, and correct transcript of the
evidence given upon said hearing, and I further
certify that IT am not of kin or counsel to the

parties in the case; am not in the regular employ

of counsel for any of said parties; nor am I in

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hday of November, 2017.

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RENDA”K: CORNICK, CCR-B-909

 

 

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COURT REPORTER DISCLOSURE

Pursuant to Article 10.B of the Rules and
Regulations of the Board of Court Reporting of the

Judicial Council of Georgia, I make the following
disclosures:

Iam a Georgia Certified Court Reporter. I am
here as a representative of WSG Reporting, LLC.

Iam not disqualified for a relationship of
interest under the provisions of 0O.C.G.A.
Section 9-11-28(c).

WSG Reporting, LLC, was contacted by Ainsworth

Dudley, Esq., to provide court reporting services for
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WSG Reporting, LLC, will not be taking this

deposition under any contract that was prohibited by
O.C.G.A. 15-14-37 (a) and (b).

WSG Reporting, LLC, has no exclusive contract to
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agency from whom a referral might have been made to
cover this deposition.

WSG Reporting, LLC, will, charge its usual and
customary rate.to all parties-in the case, anda

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Renda K. Cornick, CCR-B-909
October 30, 2017

 

 

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DISCLOSURE

Pursuant to Article 10.B of the Rules and
Regulations of the Board of Court Reporting of the

Judicial Council of Georgia, I make the following
disclosures:

WSG Reporting, LLC, is not disqualified for a
relationship of interest under the provisions of
O.C.G.A. 9-11-28(c).

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of Ainsworth Dudley to provide court reporting
Services for this deposition.

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DEPOSITION OF: SAMANTHA LEIGH KIM/RKC

I do hereby certify that I have read all
questions propounded to me and all answers given by me

on October 30, 2017, taken before Renda K. Cornick,
and that:

1) There are no changes noted.
2) The following changes are noted:

Pursuant to Rule 30(e) of the Federal Rules of
Civil Procedure and/or the Official Code of Georgia
Annotated 9-11-30(e), both of which read in part: Any
changes in form or substance which you desire to make
shall be entered upon the deposition...with a
statement of the reasons given...for making them.

Accordingly, to assist you in effecting corrections,
please use the form below:

Page No. Line No. should read:
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DEPOSITION OF: SAMANTHA LEIGH KIM/RKC

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If supplemental or additional pages are necessary,

please furnish same in typewriting annexed to this
deposition.

SAMANTHA LEIGH KIM
Sworn to and subscribed before me,

This the day of , 20

Notary Public
My commission expires:

 

 

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AMENDED CERTIFICATE

STATE OF GEORGIA
COUNTY OF GWINNETT

IN RE: ALISON VALENTE, JENNIFER BARLOW, KATHRYN
MONROE, SOPHIA SMITH, STEPHANIE LEBEAU on behalf
of themselves and all others similarly situated,

Vv

INTERNATIONAL FOLLIES, INC. et al
WITNESS: SAMANTHA LEIGH KIM

Thereby certify that in addition to the certification made on Page 54
of the transcript, the more than thirty (30) days provided the witness to read
and sign the original transcript has expired. Therefore, the original is being

filed without signature of the witness.

This the 10th day of January, 2018

ety

Whitney S. Guynes, CCR - B-1897

 

 
